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DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 32003
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # it OF
CNTS
18/371 CONSPIRACY TO VIOL 18/472 1 1
18/982(a)
(2) (B) FORFEITURE , l
Il. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
III. LOWER ATTORNEY
MEDINA, ORLANDO SANCHEZ Defendant Kirk Kennedy, Retd (#6k)

vo

OPEN

 

521 S. Sixth Street
Las Vegas, NV. 89101
(702) 385-5534

(Fax: 385-1869

Dispo Judge: 7814 _-

 

 

Proc code: J] Dispo date: 10/24/00 _
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lst app code: A |
Cnsl code: 2 Cnsl code: QQ 07
Time
CT: 1 OD: 4 Pri: Srvd Prob: N/A SR: None Fine: _ $10,000.00
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SUMMONS
 

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DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 32003
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # # OF
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18/371 CONSPIRACY TO VIOL 18/472 1 1
18/982 (a)

(2) (B) FORFEITURE 2 1
TI. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
III. LOWER ATTORNEY
MEDINA, ORLANDO SANCHEZ Defendant Kirk Kennedy, Retd (#6k)
521 S. Sixth Street
Las Vegas, NV. 89101
(702)385-5534
(Fax: 385-1869
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Sent date: 10/24/00

 

 

 

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SUMMONS
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CR-S-99-00309-02-JBR (LRL)
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USA vs. MOUSALI, KAMILO YUSEFF ¢ ©

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DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 32003
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # # OF
CNTS
18/371 CONSPIRACY TO VIOL 18/472 1 1
18/982{(a)
(2) (B) FORFEITURE 2 ]
II. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
Iii. LOWER ATTORNEY
MOUSALI, KAMILO YUSEFF Defendant THOMAS FITZPATRICK, RETD (#/8)
818 E. CHARLESTON BLVD.
LAS VEGAS, NV. 89104
(702)386-5060
(FAX: 385-4604
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Proc date: 8/4/99 Dispo Judge: 7814 >
Proc code: 1 Dispo date: 10/24/00
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CT: 1p: 4 pri: S#¥Gprob: N/A SR: None Fine: $10,000.00
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SUMMONS
2° Case 2:99-cr-00309-KJD Document 72 Filed 08/04/99 gra e 4 of 15

 

 

 

 

 

 

 

 

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cR-8-99- -00309-02-JBE (LRL) USA vs. MOUSALI, KAMILO YUSEFF ¢ ive Page
A ASD Ko ®
DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 32003
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # # OF
CNTS
18/37) CONSPIRACY TO VIOL 18/472 1 1
18/982(a)
(2) (B) FORFEITURE 2 1
II. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
III. LOWER ATTORNEY
MOUSALI, KAMILO YUSEFF Defendant THOMAS FITZPATRICK, RETD (#/8
818 E. CHARLESTON BLVD.
LAS VEGAS, NV. 89104
(702)386-5060
(FAX: 385-4604
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Proc date: 8/4/99 Dispo Judge: 7814
Proc code: 1 Dispo date: 10/24/00
lst app “dt: 07/27/99 __ Sent date: __ 10/24/00
lst app code: A
Cnsl code: oy Cnsl code: 2

cT:_1 p:__4 pri: $i¥Gprob: N/A SR:_None Fine: $10,000.00

CT: D: Pri: Prob: SR: Fine:
CT: D: Pri: Prob; SR: Fine:

 

 

SUMMONS
. Case 2:99-cr-00309-KJD Document 72 Filed 08/04/99 Page 5 of 15

 

 

 

 

 

 

 

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CR-8+99-00309-03-JBR_(LRL) USA vs. MEDINA, ORLANDOSSANCHEZ=:=—) . \\ Page
1 K3P Ron g
Cv
DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 32003
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # # OF
CNTS
18/371 CONSPIRACY TO VIOL 18/472 1 1
18/982(a)
(2) (B) FORFEITURE 2 l
II. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
III. LOWER ATTORNEY
HIRCHEDD, ATEF SALAMI NEMER Defendant DONALD GREEN, RETD. (#6p)

633 SO. FOURTH STREET, #2
LAS VEGAS, NV 89101

~ (702)388-7311
(FAX: 388-7355

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Proc date: 8/4/99 Dispo Judge: 7814 _
Proc code: J Dispo date: 10/24/00 _
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Time
CT: ] D: 4 Pri: Srvd Prob: N/A SR: None Fine: $10,000.00
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CR-S-99-00309-03-JBE (LRL) USA vs. MEDINA;DORLANDOSSANCREZ==-$° ”_a\ Page
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DATE FILED: 08/04/99 DISTRICT: 0978 COUNTY: 3200
DATE CLSD.: 10/27/00 TYPE: 3 WRIT: N JUV: N ALIAS.: N
I. CHARGE CNT # #0
CNTS
18/371 CONSPIRACY TO VIOL 18/472 1 1
18/982(a)
(2) (B) FORFEITURE 2 1
II. UPPER ATTORNEY
U.S.A. Plaintiff JOSEPH E. SULLIVAN, AUSA
701 E. BRIDGER AVE., #800
LAS VEGAS, NV. 89101
(702) 388-6336
III. LOWER ATTORNEY

 

HIRCHEDD, ATEF SALAMI NEMER

OPEN

Proc

Proc code: ]

lst app code: 4

date: 8/4/99

lst app dt: 7/27/99 __

Defendant DONALD GREEN, RETD. (#6p)

633 SO. FOURTH STREET, #2
LAS VEGAS, NV 89101
(702) 388-7311

(FAX: 388-7355

 

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Dispo Judge: 7814
Dispo date: 10/24/00 _
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Case 2:99-cr-00309-KJD Document 72 Filed 08/04/99 Page 78r#5??-3°

9-JBR(LRL)

 

 

 

KID
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET U.S. vs PACE 2
ATEF SALAMI NEMER HIRCHEDD, et al.
AO 256A ® a Yr. | Docket No. [De
(vate PROCEEDINGS (continued) V. EXCLUDABLE DELA
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(Document No.) , ,
LOA ET es
08/04/99 1 CRIMINAL INDICTMENT o/d 7/26/99 1sd a
Phe
-- - JS—-2 re: D/Hirchedd lsd
-- - JS-2 re: D/Mousali lsd
-- - JS-2 re: D/Medina lsd
-- 2 AO-257 re: D/Hirchedd isd
-- 3 AO-257 re: D/Mousali lsd
-- 4 AO-257 re: D/Medina isd
-- 5 MINUTES OF GRAND JURY re: D/s Hirchedd, Mousali, Medina
(RJIJJORD 1) Summs (3) to iss to USA for A/P on
FRI, 8/20/99 @ 8:30am in Crtrm #4, bfr RLH (C/Rprtr
Mary Duffin) cps dist lsd
-- - SUMMONSES (3) re: D/s Hirchedd, Mousali & Medina iss[d
to USA for A/P on 8/20/99 @ 8:30am in Crtrm #4, 2nd
Floor, bfr Mag Jdg Roger L. Hunt lsd
6 TRANSCRIPT OF MAGISTRATE PAPERS frm Dist of NV re: Dfs

08/09/99

 

 

Hirchedd, Mousali, Medina in Mag Case #99-2164-M-RLH:

a) COMPLAINT fld 7/27/99 (cpy) o/d 7/26/99

b) WARRANT iss'd to USM re: D/Hirchedd dtd 7/27/99
c) WARRANT iss'd to USM re: D/Mousali dtd 7/27/99
d) WARRANT iss'd to USM re:D /Medina dtd 7/27/99
e) MINUTES OF INITIAL APPEARANCE re: D/Hirchedd hld

on 7/27/99 (Acting USMag James M. Bixler)ORD })
FPD apptd for ths hrg only; D confrms he can affrd
& wll retn cnsl 2) Deten Hrg set for FRI, 7/ 0/9
@ 3:00pm 3) Temp Deten Ord (Sp Intrprtr: Maria

Peters) (Tape #99-3-64) cps dist
f) ORDER OF TEMPORARY DETENTION re: D/Hirchedd dtd
7/27/99 (Bixler)ORD: D detnd pend deten hrg on

FRI, 7/30/99 @ 3:00pm in Crtr #4, bfr RLH cps dist
on
7/27/99 (Acting USMag James M. Bixler)ORD 1) (JA
atty John Duffy apptd for ths hrg only; D can Affrd
& wll obtn cnsl 2) Deten Hrg set for FRI, 7/$0/9
@ 10:30am; Temp Deten Ord (Tape #99-3-63) (Sp Intrg

g) MINUTES OF INITIAL APPEARANCE re: D/Mousali hid

Maria Peters) cps dist

h) ORDER OF TEMPORARY DETENTION re: D/Mousali (Bixler)
ORD: D detnd pend deten hrg on FRI, 7/30/99 @ [0:3

am in Crtrm #4, 2nd Flr, bfr RLH cps dist

i) MINUTES OF INITIAL APPEARANCE re: D/Medina hld 6n
7/27/99 (Acting USMag James M. Bixler)ORD 1) (JA
atty Donald Green apptd for ths hrg; D can afftd
& wll retn cnsl 2) Deten Hrg set for FRI, 7/80/49
@ 3:00pm 3) Temp Deten ord Tape #99-3-63 (Sp [nti

 

Maria Peters) eps dist

 

(*TRANSCRIPT OF MAGISTRATE PAPERS CONT'D ON WENT P

(per Section 11)

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>RIMINAL DOCKET

AO 256A

CR-S-99-309- LRL
Case 2:99-cr-00309-KJD Document 72 Filed 08/04/99 Page 8 of 15 TBE (IRI)

USA vs. ATEF SALAMI NEMER HIRCHEDD, et al.

 

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08/09/99

PROCEEDINGS (continued)
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PAGE 3

V. EXCLUDABLE DELAY

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6 TRANSCRIPT OF MAGISTRATE PAPERS (*Cont'd From Prev. bape):

ORDER OF TEMPORARY DETENTION re: D/Medina fld
7/28/99 (Bixler)ORD: D detnd pend deten hrg set
for FRI, 7/30/99 @ 3:00pm in Crtrm #4 cps dist

SUBSTITUTION OF ATTORNEY obo D/Hirchedd (Bixler
ORD: Atty Kirk Kennedy subs in as retd cnsl,
FPD subs out cps dist

MOTION obo D/Medina For Ord Setting Conds of Rels ([p)
(Dispo:

WARRANT w/USM retd, D/Hirchedd arr (dtd 7/27/99

WARRANT w/USM retd, D/Mousali arr (dtd 7/27/99)

WARRANT w/USM retd, D/Medina arr (dtd 7/27/99)

DESIGNATION OF RETAINED COUNSEL/APPEARANCE PRAECIP
obo D/Medina Atty Donald Green wll srv as retd cnsl

AFFIDAVIT dtd 7/30/99 by Donald Green obo Atty
Kirk Kennedy re: D/Hirchedd ($220,600.00 deposited
as security on D's bnd)

AFFIDAVIT dtd 7/30/99 by Atty Thomas Fitzpatric!
obo D/Mousali ($220,600.00 deposited as security
on D's bnd)

CERTIFICATE OF CASH DEPOSIT (not certfd/notr2d)
dtd 7/30/99 obo D/Mousali re: $220,600.00 Cashier's
Check for deposit into Registry Acct for D's bond

AFFIDAVIT of Atty Donald Green obo D/Medina re:
$220,600.00 Cashier's Chek dpstd as security for
D's bnd

CERTIFICATE OF CASH DEPOSIT (not Certfd/notrzd)
dtd 7/30/99 bood D/Medina re: $220,600.00 Cashier's
Check for deposit into Registry Acct for D's bnd

BOND, $220,600.00 depost on $750,000.00 unscrd bnd
dtd 7/30/99 (Bixler) re: D/Hirchedd
(Bond exon: (EL 2¢fO00 )

BOND, $220.600.00 pstd on $750,000.00 unscrd bnd
dtd 7/30/99 re: D/Mousali (Bixler)
(Bond exon: /o /2Y¥ /O0 )

BOND, $220,600.00 pstd on $750,000.00 unserd bnd
dtd 7/30/99 re: D/Medina (Bixler)

(Bond exon: Cae Oo )

AFFIDAVIT re: D/Nemer (Hirchedd) by Donald Gree
for Atty Kirk Kennedy $29,400.00 Cashier's Che¢k
deposited as security for bnd

REPORT by Donald Green of Cash Pmnts ovr $10,000.00
(IRS frm 8300) obo Atty Kirk Kennedy for D/Hir¢hedd

AFFIDAVIT by Atty Thomas Fitzpatrick obo D/Mousali
re: $29,400.00 cash depositd on D's bnd

REPORT by Thomas Fitzpatrick of Cash Pmnt over $10,|000.00
(IRS form 8300) obo D/Mousali

AFFIDAVIT of Atty Donald Green obo D/Medina re:
$29,400 depositd as securtiy on bnd

REPORT by Donald Green of Cash Pmnts Ovr $10,000.00
(IRS form 8300) obo D/Medina-

MINUTES OF DETENTION HEARING re: D/Hirchedd hldjon
7/30/99 (Bixler)ORD 1) Prelim Hrg set for MON | 8/9/99 @ 4:4
2) PR bnd ($1,000,000,00) scrd by $770,600 cash sat & exctd

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET »

AO 256A @

U.S. vs
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PAGE 4

99-309-JBR(LRL)

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PROCEEDINGS (continued)
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TRANSCRIPT OF MAGISTRATE PAPERS (*CONT'D FROM PREV PAGES:

ff) MINUTES OF DETENTION HEARING re: D/Mousali hld
7/30/99 (Bixler)ORD 1) Prelim Hrg set for MON
8/9/99 @ 4:00pm 2) PR bnd ($1,000,000.00) secrd
by $220,600.00 pstd; D relsd (see doc for sp
conds) (Sp Intprtr: Ed Brondo) (Tape #99~3-64) opd

gg) MINUTES OF DETENTION HEARING re: D/Medina hld jon
7/30/99 (Bixler)ORD 1) Prelim Hrg set for MON,
8/9/99 @ 4:00pm 2) PR bnd ($1,000,000.00) secrd
by $220,600.00 cash exctd; D relsd (see doc flor
spec conds) (SP Intprtr: Ed Brondo) (Tape #99-3-64
eps dist

hh) MINUTE ORDER re: D/s Hirchedd, Mousali, Medina
dtd 8/5/99 (RLH)ORD 1) GJ retd Indctmnt on
8/4/99 in CR-S-99-309-JBR(LRL) 2) Prelim Hyg
on 8/9/99 vetd 3) A/P set for FRI, 8/20/99
@ 8:30am in Crtrm #4, 2nd Flr, bfr RLH cps dist
lsd

 

EMERGENCY MOTION/STIPULATION re: D/s Hirchedd, Mousali,
& Medina To Modfy Rels Conds of Ds (m) lsd
(Dispo: GRANTED #8) (Note: orig sign LRL on ths doq) lL

EMERGENCY MOTION/ORDER re: D/s Hirchedd, Mousali, Mddina
(copy #7) (LRL)ORD: D's allwd to lve jurisdctn tenfp
to trvl to Venezuela & retrn on/bfr 8/19/99 cps dist
lsd

ORDER re: D/Hirchedd dtd 7/27/99 (Acting USMag Bixler)
ORD: FPD apptd cnsl, USM to srv subp cps dist lsd

ORDER re: D/Mousali (Musala?) (Acting USMag Bixler)QRD:
Atty John Duffy apptd, USM to srv subp cps dist IJsd

CJA 20 re: D/Mousali (RAS)ORD: Atty John Duffy apptd 1

ORDER re: D/Medina dtd 7/27/99 (Acting USMag Bixler)
ORD: Atty Donald Green apptd, USM to srv subp lgd

CJA 20 re: D/Medina (RAS)ORD: Atty Donald Green appid 1
JOINT DISCOVERY STATEMENT re: D/Hirchedd lsd
JOINT DISCOVERY STATEMENT re: D/Mousali isd
JOINT DISCOVERY STATEMENT re: D/Medina isd
ORDER re: D/s Hirchedd, Mousali, Medina (JBR)ORD:
P/T mtns due 9/3/99; Resp due 9/14/99; Repl due 9/37/9)

eps dist isd

DESIGNATION OF RETAINED COUNSEL/APPEARANCE PRAECIPE
ebo D/Mousali Atty Thomas Fitzpatrick wll sry as getd

 

 

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End Date

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Case 2:99-cr-00309-KJD Document 72 Filed 08/04/99 Page 10 of 15 pet )
JNITED STATES DISTRICT COURT PACE 5

SRIMINAL DOCKET USA vs. ATEF SALAMI NEMER HIRCHEDD, et al.

AO 256A
DATE PROCEEDINGS (continued) V. EXCLUDABLE DELAY

 

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{a) (b) (ce), {d)
——_—_—_—————+-{ Document No.) @
08/23/99 19 MINUTES OF ARRAIGNMENT/PLEA re: D/Hirchedd hid on

8/20/99 (RLH)ORD 1) T/N: same 2) D plds NG to
CT 1 3) Sbjct to jnt dsevry stmt 4) J/T set
for MON, 10/18/99 @ 8:30am w/cal call on WEDS,

10/13/99 @ 8:30am 5) Ord re p/t predr entrd & cp$
srvd on cnsl in opn crt 6) Tpes to be prvded to
dfs cnsl 7) D contd on prnst trms of rels 8) Atty
Fitzpatrick makes mtn obo all Ds tht conds of rels
be modfd to allw their travl to Venezuela & FLA fof
business purps, provding prior apprvl obtnd frm P/T
Srves; Govt has no obj; Mtn GRANTED & conds modfd
(C/R E. Davis) (Sp Intprtr: Ed Brondo) cps dist l1$d ©

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-- 20 MINUTES OF ARRATGNMENT/PLEA re: D/Mousali hld on 8/P0/99
(RLH)ORD 1) T/N: Kamilo Youseff Mousali Kayat 2
D plds NG to CT 1 3) Sbjet to jnt dsevry stmt 4
J/T set for MON, 10/18/99 @ 8:30am w/cal call WEDS
10/13/99 @ 8:30am 5) Ord re p/t predr entrd & cps
srvd on cnsl in opn crt 6) Tpes to be prvded to
dfs cnsi 7) D contd on prsnt trms of rels 8) Atty
Fitzpatrick's mtn obo all Ds to modfy conds of rel
to allw travel (see #19) GRANTED (C/R E. Davis)
(Sp Intrprtr: Ed Brondo) cps dist Isd

 

-- 21 MINUTES OF ARRATIGNMENT/PLEA re: D/Medina hid on 8/20/99
(RLH)ORD 1) T/N: Orlando Mendina Sanchez 2) D pilds
NG 3) Sbjct to jnt dsevry stmt 4) J/T set for MON,
10/18/99 @ 8:30am w/cal call WEDS, 10/13/99 @ 8:30am
5) Ord re p/t predr entrd & cps srvd on cnsi in op
crt 6) Tpes to be prvded to dfs cnsl 7) D cont
on prsnt trms of rls 8) Atty Fitzpatrick's Mtn obo
all Ds to modfy conds of rels to allow travel (see
#19) GRANTED (C/R E. Davis) (Sp Intrprtr: Ed Brondo)
eps dist lsd

08/24/99 22 AMENDED MINUTES OF ARRAIGNMENT/PLEA re: D/Hirchedd @
hld on 8/20/99 (RLH)ORD: Mins amnded to reflect
erretd Tri dte of MON, 9/27/99 @ 8:30am w/cal call
Weds, 9/22/99 @ 8:30am cps dist lsd

-- 23 AMENDED MINUTES OF ARRATGNMENT/PLEA re: D/Mousali h]jd
on 8/20/99 (RLH)ORD: Mins amnded to reflect crretd
Trl dte of MON, 9/27/99 @ 8:30am w/cal call WEDS,
9/22/99 @ 8:30am cps dist lsd

-- 24 AMENDED MINUTES OF ARRAIGNMENT/PLEA re: D/Medina hld
on 8/20/99 (RLH)ORD: Mins amnded to reflect errctd

Trl dte of MON, 9/27/99 @ 8:30am w/cal call WEDS, ©

9/22/99 @ 8:30am cps dist isd

09/09/99 25 ORDER re: D/s Hirchedd, Mousali, Medina (JBR)ORD: Ttl
set for & cnsl to subp wits for MON, 9/27/99 @ 8:3¢am:
w/cal call WEDS, 9/22/99 @ 8:30am (see doc for spe¢s)

eps dist isd

 

 

 

 

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"+ UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

US VS
) ATEF SALAMI NEMER HIRCHEDD, et al.

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PROCEEDINGS (continued)

 

09/17/99

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09/22/99

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10/29/99

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11/04/99

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11/08/99

 

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V. EXCLUDABLE DELAY
{a} (b) (ce); (a)

 

schdld for TUES, 9/21/99 @ 11:00am in Crtrm #5 on

shll attnd hrg cps dist 1sd

11/24/99 @ 8:30am 2) Tri brfs, ete due 11/24/99
4:00pm (18/3161 (h) (8) (B) (i)&(iv)cited) cps dist

tht Ds shill be und p/t sprvsn as to any conds p/t

(Tape #99-1-80) cps dist lsd

All prev ord conds are rescnded w/exceptn tht Ds
appropriate; cond re cash bail wll remn in effect
(Tape #99-1-80) (Sp Intrprtr: Anita Vasquez) cps
dist lsd

30 MOTION obo D/s Hirchedd, Mousali, & Medina To Modfy
Conds of Rels (m) isd

| (Dispo: Min Ord #3]; Resp #33; ORD #34 DENIED)

ORD 1) Govt shil srv & fle Resp to Ds' Mtn To
be dlvrd to chmbrs whn orig fld) cps dist isd
Rqstd) (p) (m) lsd
(Dispo: REésP# 36; DEED # 37

33 RESPONSE by Govt To Ds' Mtn To Modfy Conds of Rels

(#30) (m)  1sd

(LRL)ORD: Mtn #30 DENIED cps dist Ilsd
hubmittid irl #s 3A bY

set for & cnsl to subp wits for Trl stck on MON,

(see doc for spec conds) cps dist lsd

x

 

26 MINUTE ORDER re: D/Hirchedd, et al (HDM)ORD 1) Hrg
P/T's rqst to modfy conds of Ds' rels 2?) P/T & Ds
27 STIPULATION/FINDINGS OF FACT/ORDER re: D/s Hirchedd, {27

Mousali, & Medina (JBR)ORD 1) Trl crrntly set for
9/27/99 vetd & contd. 11/29/99 in Crtrm #1 w/cal call

28 MINUTES OF PROCEEDINGS re: P/T Srvcs' Rqst To Modfy
All Ds Conds of Rels hld on 9/21/99 (LRL)ORD 1) Cohds
modfd as fllws: All prev ord conds resended w/excpth
deems appropriate; cond re cash bail wll remn in effct

29 AMENDED MINUTES OF PROCEEDINGS re: All D/s (hid on

9/21/99) (LRL)ORD 1) Ds' rels conds modfd as fllws:

be und p/t sprvsn as to any cond the p/t offcr deems

31 MINUTE ORDER re: D/s Hirchedd, Mousali, Medina (LRL)

Modfy Conds of Rels (#30) nit 11/5/99 (ertsy cpy td
aX MOTION obo D/Sanchez—Medina To Cont Trl (Exptd Consdrtn
34 MINUTE ORDER re: Ds' Mtn To Modfy Conds of Rels (#34)

35 ORDER re: D/s Hirchedd, Mousali, Medina (JBR)ORD: Ty#1

11/29/99 @ 8:30am w/cal call Weds, 11/24/99 @ 8:30dm

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DATE PROCEEDINGS (continued) V. EXCLUDABLE DELAY
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11/08/99 36 RESPONSE by Govt To D/Medina's Mtn For Cont of Tri
(#32) (mn) lsd

1.9.99 | - hbrnethid GBR # $24 80

11/10/99 37 ORDER re: D/Medina's Mtn To Cont Trl (#32) (JBR)ORD:
1) Crt sympthszes w/dfs cnsl's dilemma, howver, since
co-ds did not jn in mtn in writing, Crt must respct
rights to speedv trl 2) Mtn #32 DENIED (EOD 11/10/99)
c dist lsd

11/15/99 38 EMERGENCY MOTION obo A113) D/s:. For Lve To Take Depos
- Purs To FRCrP Rule 15 (m) lsd

VN15196 ~ ScRty PEE PB 2

11/16/99 39 EMERGENCY MOTION/ORDER (Orig #38) (LRL)ORD: Mtn #38
GRANTED eps dist lsd

11/17/99 40 STIPULATION/FINDINGS OF FACT/ORDER re: D/s Hirchedd, | 7-7 Mf LaG
Mousali, Medina (JBR)ORD 1) Trl crrntly set for [> |o,. >...
11/29/99 vcetd & contd to 3/13/2000 @ 8:30am w/cal
call contd to 3/8/2000 @ 8:30am 2) Trl brfs, etc opine (Le
due 3/8/2000 by 4:00pm (18/3161 (h) (8) (B) (1) & Civ) eT
cited) cps dist Isd Ro

02/22/00 41 STIPULATION/FINDINGS OF FACT/ORDER re: D/s Sanchez-Medina,
Mousali, Hirchedd (JBR)ORD 1) Tri set for 3/13/00 Wetd
& contd to 7/24/00 @ 8:30am w/cal call 7/19/00 @ 8:30am ,
2) Propsd Voir Dire due on/bfr 7/19/00 @ 4:00pm (18/¢. O Lod oo. ;

, 3161(h) (8) (B)(L)&(iv)cited) cps dist sd al lap fs go \h Pe
05/05/00 42 JOINT MOTION obo D/s Hirchedd, Mousali & Medina To Yd
. Reduce Cash Collateral Hild For Bond (m) isd - 7

(Dispo: Resp #43; GRANTED #44) -
05/17/00 43 RESPONSE by Govt To D/s Hirschedd, Mousali, Medina To

Jnt Mtn To Reduce Cash Collateral Hild For Bond (#42)

(m) lsd
05/18/00 44 MINUTE ORDER re: D/s Hirchedd, Mousali, Medina's Jnt

Mtn To Reduce Cash Collateral Hild For Bond (#42) (LRIL)
ORD 1) Crt has consdrd mtn & gov'ts resp (#43) 2)
Mtn #30 GRANTED: cash deposit security reduced from
25% to 15% cps dist lsd

07/05/00 45 MOTION obo D/s Hirchedd, Mousali & Medina To Cont Trl

Dte (m) 1sd ——-

(Dispo: ogaos # ¥7, Supplemt FY7, CRINEOR So

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PROCEEDINGS (continued)

 

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46 ORDER re: D/s Hirchedd, Mousali, Medina (JBR)ORD:
Trl set for & cnsl to subp wits for MON, 7/24/00
@ 8:30am in Crtrm #6A w/cal call Weds, 7/19/00 @
8:30am (see doc for specs) cps dist 1sd

47 OPPOSTION by Govt To Ds' Mtn To Cont Tri Dte (#45)
(m) lsd

48

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OTION by Govt For Bifurcatd Trl re: D/s Hirchedd,
Mousali & Medina (m) lsd

(Dispo: Geyv7ED #53
difmetted Pe #s Vip? ys (6
49

SUPPLEMENT obo D/Sanchez-Medina To Jnt Mtn To Cont
Trl (#45) (m) lsd (* 18/3161 (h) (8) (B) (1), Civ) &
datrected Ar GC # 45, SI749 LF
50 MINUTES OF CALENDAR CALL re: D/s Hirchedd, Mousali,
Medina hid on 7/19/00 (JBR)ORD 1) Cnsl advse Crt
of Mtn To Cont Trl; Govt has no oppos, but rqsts
stat hrg be set one wk prior to new trl dte
To Cont Trl GRANTED; Trl contd to MON, 10/16/00 @
8:30am w/cal call Weds, 10/11/00 @ 8:30am 3) Stat

Hrg set for THURS, 10/5/00 @ 4:30pm (C/R M. Lindi)
cps dist isd

51 MINUTES ORDER re: TRIAL:
Medina (JBR)ORD 1) Purs to Govt's Oppos (#47) to
Ds' Mtn To Cont Trl (#45), Govt wll be unavailble
time set for trl; Trl, cal call & stat hrg vetd &
reschdld 2) Trl set for MON, 10/16/00 vetd & res
for MON, 10/30/@ 8:30am w/cal call Weds, 10/25/00
@ 8:30am 3) Stat Hrg on THURS, 10/5/00 vctd & res
to MON, 10/23/00 @ 4:00pm 4) Waivr of Speedy Trl
citd in D/Sanchez-Medina's Supplmntl To Jnt Mtn To
Cont Trl (#49) (*18/3161(h) (8) (B) (1), (iv) & (h)(1)
(f£) cited) cps dist lsd

52 MINUTE ORDER re all defendants (HDM) ORD: case
reassgnd to HonJdg Kent J. Dawson for all frthr
predngs; cnsl advsd that all frthr docs shl bear
crrct case #CR-S-995309-KJD(LRL) cps dist cjb

53 ORDER re: Govt's Mtn To Bifurcate Trl (#48) re: D/s
Hirchedd, Mousali & Medina (KJD)ORD: Mtn #48 GRANT}

Jry wll lst ascrtn Ds' Glt & thn delibrte on possb]
of CR forftr (EOD 8/31/00) cps dist lsd

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(h) (1) (f£) citefl)

2) Mtn

re: D/s Hirchedd, Mousali| &

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54 NOTICE re: D/s Hirchedd, Mousali & Medina (KJD)ORD
Cal Call prvsly set for Weds, 10/25/00 bfr JBR vctd|
& reset to TUES, 10/24/00 @ 9:00am bfr KJD in Crtrm
#6D cps dist 1sd

set for TUES, 10/24/00 @ 9:30am in Crtrm #6D, bfr
KID cps dist lsd

56 CALENDAR SETTING re: D/Mousali (KJD)ORD: Chg of Plea
Hrg set for TUES, 10/24/00 @ 9:00am in Crtrm #6D,
bfr KID (sp intrp rqrd) cps dist isd

for & cnsl to subp wits for MON, 10/30/00 @ 9:00am
cps dist lsd

58 CALENDAR SETTING re: D/Medina (KJD)ORD: Chg of Plea
Hrg set for TUES, 10/24/00 @ 9:30am in Crtrm #6D,
bfr KJD (Sp Intrprtr Rqrd) cps dist lsd

set for 10/24/00; stats ck VCTD cps dist Ilgm

60 MINUTES OF CHANGE OF PLEA re: D/Hirchedd (KJD) ORD
1) D allwd to wthdrw NG plea as to CT 1 & plds G to
sme; crt accpts plea 2) Non-bndng plea agremnt 3)
P/S invstigatn & rpt waivd 4) D sent 5) Trl dt vetd
(C/R M.Lindi}) eps dist I1lgm

61 PLEA MEMORANDUM re: D/Hirchedd i1gm
62 MINUTES OF SENTENCING re: D/Hirchedd (KJD) ORD As to

CT i: 1) Sent impsd 2) Fine impsd 3) Assessmnt
4) CT 2 DISMD 5) Bond exon (C/RM.Lindi) cps dist

srvd 2) No sprvsd relse 3) $100.00 assessmnt 4)
eps dist lgm

64 MINUTES OF CHANGE OF PLEA re: D/Mousali (KJD) ORD
1) D allwd to wthdrw NG plea as to CT 1 & plds G to
sme; crt accpts plea 2) Non-bndng plea agremnt 3)
P/S invstigatn & rpt waivd 4) D sent 5) Trl dt vetll
(C/R M.Lindi) eps dist Ilgm

65 PLEA MEMORANDUM re: D/Mousali lem

66 MINUTES OF SENTENCING re: D/Mousali (KJD) ORD As to
CT 1: 1) Sent impsd 2) Fine impsd 3) Assessmnt 4

 

 

 

55 CALENDAR SETTING re: D/Hirchedd (KJD)ORD: Chg of Plep

57 ORDER re: D/s Hirchedd, Mousali, Medina (KJD)ORD: Trfl

w/eal call TUES, 10/24/00 @ 9:00am (see doc for speks)

59 MINUTE ORDER dtd 10/23/00 (KJD) ORD 1) Chnge's of plas

63 JUDGMENT re: D/Hirchedd (KJD) ORD As to CT 1: 1) Time

$10,000.00 fine 5) $3,400.00 restitutn (EOD 10/27/00)

CT 2 DISMD 5) Bnd exon (C/R M.Lindi) cps dist 1bm

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MINUTES OF CHANGE OF PLEA re: D/Medina (KJD) ORD 1)

PROCEEDINGS (continued)

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JUDGMENT re: D/Mousali (KJD) ORD As to CT I: 1) Tin
srvd 2) No sprvsd relse 3) $100.00 assessmnt 4)
$10,000.00 fine 5) $3,400.00 restitutn (EOD 10/27
cps dist lgm

D allwd to wthdrw NG plea as to CT 1 & plds G to smd
crt accpts plea 2) Non-bndng plea agremnt 3) P/S
invstigatn & rpt waivd 4) D sent 5) Trl dt vetd
(C/R M.Lindi) cps dist lgm

PLEA MEMORANDUM re: D/Medina lem

MINUTES OF SENTENCING re: D/Medina (KJD) ORD As to
CT 1: 1) Sent impsd 2) Fine impsd 3) Assessmnt
4) Restitutn 5) CT 2 IDMSD 6) Bnd exon (C/R M.
Lindi) cps dist lgm

JUDGMENT re: D/Medina (KJD) ORD As to CT 1: 1) Tim¢

srvd 2) No sprvsd relse 3) $100.00 assessmnt 4)
$10,000.00 fine 5) $3,400.00 restitutn (EOD 10/27
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